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                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF NEW YORK



   NIKE, INC and CONVERSE, INC.,

   Plaintiffs,                                            Case No. 13 Civ. 8012
   V.

   Maria WU et al.

   Defendants.




                                          Declaration of
                                 Bank of Communications Limited

·, I, Zheng Sun, declare as follows:
           1.     I am a compliance officer of the Legal Compliance Department at Bank of

   Communications, Head Office ("BOCOM"), which is a nonparty to this proceeding. I am

   responsible for ensuring BOCOM' s compliance with applicable laws in the People' s Republic of

   China. To the best of my knowledge, the descriptions and facts contained in this declaration are

   true and genuine.

           2.     I submit this declaration in support of BOCOM and the other Nonparty Banks'

   objection to Magistrate Judge Freeman's September 11 , 2018 Memorandum and Order on the

   Nonparty Banks' Motion to Quash the Subpoenas and Modify the Final Order and Plaintiff-

   Assignee, Next Investments, LLC' s ("Assignee"), Cross-motion to Compel.

           3.     In BOCOM's declaration in support of the Nonparty Banks' Motion to Quash the

   Subpoenas and Modify the Final Order, dated January 27, 2018, BOCOM explained that

   disclosing documents and information relating to Judgment Debtor accounts located in China in

   response to Assignee' s subpoena, or restraining these accounts, without authorization by the
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Chinese government, would violate China's banking laws. China's Commercial Bank             4w      and

banking regulations require such disclosure or restraint to be directed by a Chinese Judicial

department or a competent governmental organ as identified in the applicable lat,,s and
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regulations.   Additionally, the unauthorized restraint and disclosure of customer f ccount
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information would violate the bank's customer agreements.
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       4.      I submit this declaration to explain that BOCOM has undertaken certain Jeasures,

nonetheless, to address the problems relating to counterfeiting identified by Assignei in its

subpoena and in its other submissions to this Court. BOCOM has undertaken th_ese meaf un,s_in

a manner consistent with Chinese law.                                              · ·. ,   j ,.,·..
       5.      Upon receipt of the subpoena, BOCOM has reviewed its international a quiring·

business records and identified transaction information pertaining to fourteen of the J ghteen
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merchants identified in attachment B of the subpoena issued to BOCOM.      BOCOM ha$ placed

these merchant names on the bank's "black-list" and has terminated financial services to
                                                                                      I
                                                                                         these

merchants.
                                                                                            '

       6.      Additionally, BOCOM is closely monitoring the one deposit accotlnt that
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Assignee identified in the subpoena issue to BOCOM, and will not provide additional seifvices to
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the holder of this account.
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       7.      BOCOM is willing to cooperate with Assignee to take additional meakures to
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combat further acts of counterfeiting by these Judgment Debtors, so long as these njieasures
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comply with Chinese law. Such measures include the production of documents and infJ rmation
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relating to the Judgment Debtors pursuant to an application submitted under th~ Hague
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Convention on the Taking of Evidence Abroad in Civil and Commercial Matters, wliich
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                                                                                    is a




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permissible channel for discovery under the Civil Procedure Law of the People's Republic of

China.

         8.     Alternatively, we note that Assignee may bring an action to enforce the judgment

directly in China. If Assignee were to begin such proceedings, the Bank would be permitted to

provide documents and information pertaining to the Judgment Debtors pursuant to the direction

of the Chinese Court.




I hereby declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.


         Executed this 11th day of October, 2018, Shanghai, China.




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